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we have not had a full opportunity to explore.

THE COURT: Because you're going to -- for
example, as to the Work for Hire agreement you're
going to put a document request out on
Mr. Zuckerberg for a copy of that contract, is that
it?

MR. BOLAND: We think Mr. Zuckerberg needs
to come forward with the copy of the contract he

has or --

THE COURT: He said he doesn't have any
such contract under oath.

MR. BOLAND: He said he never --

THE COURT: Because he never signed such a
thing.

MR. BOLAND: If you read his declaration,
your Honor, he says I never signed an agreement
involving Facebook. We want him to be deposed and
explain what -- through discovery, did he sign the
two-page document that is the authentic contract?
Hand it to him with gloves on and ask him to say.
He's never said that. They made a representation
in their motion that he did. If you Look at the
reference, it's Mr. Snyder saying that he, you
know, did or.did not or we're not sure.

Mr. Zuckerberg has to come in and say I didn't sign

 
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it. So far -- and I'm talking about the specific
document that my client's alleging is the actual
contract.

THE COURT: Somehow I recall a declaration
to the effect that what you purport -- what
plaintiff purports is the actual contract, i.e. the
Work for Hire contract was never signed by
Mr. Zuckerberg. IT don't know why I'm recalling
that.

MR. SNYDER: You're correct, your Honor.

MR. BOLAND: My recollection of the
declaration —--

THE COURT: At my age, who knows. It's
possible that I'm not as sharp as I should be.

MR. BOLAND: A clearer declaration would
be an exhibit during a deposition where he is
handed with gloves on the actual two-page document
and says once and for all, I did not sign that
page 2. That's not -- that is not the contract I
signed. He has not done that yet. In fact, he has
not even said that the -- under oath, that the
document attached to the Kole email is the contract
that he signed. They have offered no experts, no
experts to declare that that document is the

authentic document. That's an important omission

 

 

 
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(Off the record discussion.)

MR. BOLAND: Your Honor, there's one other

-expert we've had review Stroz Friedberg's report,

not in total, but have gone over it to try to find
some of the conclusions, that's Silent is the name
of the company that's already been involved in this
case. They have imaged some media a long time ago.
And then there's one other expert we haven't yet
disclosed. It's purely a consulting expert that
has evaluated it. So we will be disclosing them at
some point if we intend to use them.

But my point is, your Honor, that's just the
experts. There's more in this motion than just
experts. You just pointed out when did Facebook
start? Mr. Zuckerberg has never declared what
document he signed or didn't sign under oath. Is
it the StreetFax digital image that he signed, and
is he going to declare that he didn't sign the
contract that he has with my client? He has now
put that that issue --

THE COURT: If that is -- if there's a
hiatus or a lacuna in the record regarding Mr.
Mr. Zuckerberg's personal knowledge of when the
Facebook website became operational, that can be

easily cured by a supplemental declaration. We

 
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don't need a deposition, do we?
MR. BOLAND: Yes, we do --
THE COURT: Why?
MR. BOLAND: -- because we have a right to

get all these things under oath, not only these
issues here --

THE COURT: Well, if it comes ina
declaration under oath, what's wrong -- that's a
Simple fact, isn't it?

MR. BOLAND: That is, your Honor. But
there's wider facts than that. They have based
their motion to dismiss --

THE COURT: That's one thing, we don't
need to depose Zuckerberg on that issue.

MR. BOLAND: We don't, but there's no need
to get a declaration from him on it either, because
there's a ton of stuft that he has to be deposed
on. The emails to begin with. Where are all the
computers he used in 2003 and 2004? They've made
claims that these emails between him and my client
don't exist. Mr. Zuckerberg needs to declare what
computers he used during that time to interact with
the Harvard server. And we have to analyze the
Harvard server to determine if that's even true.

THE COURT: Excuse me, how could that

 
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provided any authority that says so.
| MR. BOLAND: In the brief that we provided
had every federal case which has dealt with
Rule 1008, and they all clearly say -- they don't
qualify it. They don't say, well, if you challenge
it with a lot of experts, now the judge can step
in. It doesn't say that. They want you to extend
it to that. They want you to extend it to 1008
means, if you challenge the authenticity but with a
really big stack of paper, now the judge can take
it out of the jury's hands. That's the case law --
that's the order they want you to write. That's
the law they want you to establish.
THE COURT: Well, I mean it is a clear and
convincing standard that we have to apply, correct?
MR. BOLAND: Tt is, and we are entitled,
-in fairness, to rebut the clear and convincing
standard with as wide a discovery as necessary to
go at every issue they raised. That's why deposing
Mr. Zuckerberg is critical. He has to say under
oath answers to all this. Again, imagine he says
under oath, here's the date and time Facebook went
live. But his computers held by Parmet say no, no,
it went live two weeks earlier. That's a

credibility issue which we wouldn't want the Court

 

 

 
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to rely on some news report as opposed to the
comparison of an individual who has admitted
committing forgeries and frauds himself,
Zuckerberg, with regard to this company and its
business records under oath. That's the person
we're talking about.

And so it is not defamatory for me to say I'ma
little concerned that Mr. Zuckerberg's statement
about when he started Facebook might not be
accurate perhaps from his memory or perhaps for
some other reason, but the computers will tell us
everything that was going on then. Does he have
emails there? Computers will tell us. When did
Facebook go live? The computers will tell us.

THE COURT: You're talking about the
computers in the other -- in the Boston lawsuit
that you didn't know about before.

MR. BOLAND: .Yes, sir, because they're
arguing --

THE COURT: I understand.

MR. BOLAND: -- the emails that my client
sent in both '03 couldn't have been sent. Well,
we'll know for sure once we look there now we,
won't we? We'll have a better clue.

THE COURT: You'll want those downloaded

 
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Challenge it, but we should be entitled to a
dismissal on that basis, even though we've ruined
the document for you to rebut us.

And that's something else that we'll pring up

in our response after our reasonable period of

discovery is that there's a fairness issue with us

being able to rebut certain things they argue

because they damaged the key evidence in the case.
Tf you have no further questions, your Honor,
that’s all I had to say.

THE COURT: Thank you. Well, I think
we're going to —- did you want to respond to that,
Mr. Snyder, briefly? Anything?

MR. SNYDER: I have nothing further to
say, your Honor.

THE COURT: Okay. We're going to grant
the motion in part and deny it in part. We're
going to stay general discovery, but permit a
limited period of expert discovery for the
plaintiff and the defendants.

I'll give the plaintiffs 60 days to depose

defendants' experts to prepare an opposition to the

motion to dismiss. And then how much time after

that would you need to file your written response,

including your reports?

 
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MR. BOLAND: Your Honor, 60 days.

THE COURT: Sixty days?

MR. BOLAND: Yes.

MR. SNYDER: My question is, your Honor --
and we put this in our papers. We welcome expert
depositions. Certainly we think more in the record
the better in terms of our expert reports. So,

what we said in our papers is that if your Honor
was inclined to give expert discovery, that we
think it's appropriate for them to give us their
expert reports presumedly before those depositions
so that we have -- that's the normal procedure that
you exchange expert reports before depositions so
that our experts have an opportunity to read and be
prepared to respond to. Otherwise, they're going
to be asked 400 questions at a deposition about
technical tests and other things that our experts
won't have a chance to study or respond to.

So if the goal here is to provide your Honor
with the best information, as opposed to some
ambush, then the best procedure we believe is that
they give us their expert reports responding to our
expert reports, they depose our experts, we can
depose their experts. Certainly we should have the

opportunity to depose their experts. And then they

 

 

 
